                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN
 __________________________________________________________________________________________

In the Matter of:                                                      Chapter 13
RICHARD W LEWIS, JR                                                    Case No. 18-24685-SVK

             Debtor.
________________________________________________________________________________________

     NOTICE OF TELEPHONE HEARING ON TRUSTEE'S OBJECTION TO CONFIRMATION
__________________________________________________________________________________________

PLEASE TAKE NOTICE that Scott Lieske, Standing Chapter 13 Trustee has filed papers with the court objecting
to the proposed Chapter 13 plan filed by the Debtor.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney,
if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

A telephone hearing will be held before the Honorable Susan V. Kelley, United States Bankruptcy Judge, on
February 19, 2019 at 10:30 a.m., to consider the Trustee's Objection to Confirmation. To appear by telephone,
you must call the Court conference line at 1-888-675-2535, access code 9918878 before the scheduled
hearing time. Please note that the Court may already be in session, so please wait quietly on the telephone for
your case to be called.

       Dated at Milwaukee, Wisconsin, on January 31, 2019.




                                               /s/________________________
                                               Scott Lieske, Trustee
                                               Robert W. Stack, Staff Attorney
                                               Christopher D. Schimke, Staff Attorney
                                               Sandra M. Baner, Staff Attorney
                                               Chapter 13 Standing Trustee
                                               P.O. Box 510920
                                               Milwaukee, Wisconsin 53203
                                               T: (414) 271-3943
                                               F: (414) 271-9344




                   Case 18-24685-kmp          Doc 63     Filed 01/31/19        Page 1 of 3
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN
___________________________________________________________________________________________
In the Matter of:
RICHARD W LEWIS, JR                                 Chapter 13
                                                    Case No. 18-24685-SVK
                 Debtor.
___________________________________________________________________________________________

  TRUSTEE’S OBJECTION TO CONFIRMATION OF DEBTOR'S PROPOSED CHAPTER 13 PLAN
___________________________________________________________________________________________

The Trustee, Scott Lieske, hereby objects to the proposed Chapter 13 Plan in this bankruptcy proceeding for the
following reason(s):

The Trustee is unable to determine whether the plan satisfies 11 U.S.C. § 1325(a)(6) as the Debtor contacted the
Trustee’s office and advised that he is no longer employed.

        Dated at Milwaukee, Wisconsin, on January 31, 2019


                                                OFFICE OF CHAPTER 13 TRUSTEE

                                                /s/__________________________________
                                                Scott Lieske, Chapter 13 Trustee
                                                Robert W. Stack, Staff Attorney
                                                Christopher D. Schimke, Staff Attorney
                                                Sandra M. Baner, Staff Attorney

P.O. ADDRESS:
P.O. Box 510920
Milwaukee, WI 53203
414-271-3943
414-271-9344 (Fax)
info@chapter13milwaukee.com




                    Case 18-24685-kmp          Doc 63     Filed 01/31/19        Page 2 of 3
                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF WISCONSIN

 In the Matter of:                                                 Chapter 13
 RICHARD W LEWIS, JR                                               Case No. 18-24685-SVK

                             Debtor.


                                        CERTIFICATE OF SERVICE


        I hereby certify that on January 31, 2019, the TRUSTEE’S OBJECTION TO CONFIRMATION OF
DEBTOR'S PROPOSED CHAPTER 13 PLAN and NOTICE OF TELEPHONE HEARING ON
TRUSTEE'S OBJECTION TO CONFIRMATION in this case were electronically filed with the Clerk of
Court and served upon the following parties using the ECF system:

                        OFFICE OF THE U.S. TRUSTEE
                        MILLER & MILLER

      I further certify that I have mailed by United States Postal Service the same documents to the following
non-ECF participants:

                        RICHARD W LEWIS, JR
                        N49 W16172 GRAYSLAND DRIVE
                        MENOMONEE FALLS, WI 53051

        Dated: January 31, 2019


                                                /s/_____________________________
                                                Tongula Washington
                                                Administrative Assistant
                                                Office of the Chapter 13 Trustee
                                                P.O. Box 510920
                                                Milwaukee, WI 53203
                                                T: (414) 271-3943
                                                F: (414) 271-9344




                   Case 18-24685-kmp          Doc 63      Filed 01/31/19       Page 3 of 3
